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                                                                                                United States District Court
                                                                                                  Southern District of Texas

                                                                                                     ENTERED
UNITED STATES DISTRICT COURT                                            SOUTHERN DISTRICT OF TEXAS
                                                                                           March 28, 2023
                                                                                                  Nathan Ochsner, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division          Victoria                               Case Number                6:23-cv-00013

                                            State of Texas, et al.


                                                     versus
                    Bureau of Alcohol, Tobacco, Firearms, and Explosives, et al.


                                          Faith E. Lowry
           Lawyer’s Name                  U.S. Department of Justice
                Firm                      Civil Division, Federal Programs Branch
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       Federal Bar & Number               Admitted WDTX




 Name of party applicant seeks to                                         Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       3/27/2023         Signed:                              /s/ Faith E. Lowry



 The state bar reports that the applicant’s status is:     active

 Dated: March 27, 2023          Clerk’s signature



               Order
                                                     This lawyer is admitted pro hac vice.

Dated:       March 28, 2023
                                                              United States District Judge
